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           12
                                      UNITED STATES DISTRICT COURT
           13
                            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           14
                   MASIMO CORPORATION,                            CASE NO. 8:20-cv-00048-JVS (JDEx)
           15      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                   APPLE’S SUPPLEMENTAL RULE
           16      a Delaware corporation,                        50(B) MOTION OF NO UNJUST
                                                                  ENRICHMENT
           17                            Plaintiffs,
           18               v.                                   No hearing set.1

           19      APPLE INC.,
                   a California corporation,
           20
                                         Defendant.
           21
           22
           23
           24              REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
           25
           26      1
                    Pursuant to this Court’s Rule 50(b) order, “[t]he court will decide at a later time
           27      whether to hold further oral argument on the unjust enrichment causation issue.” Dkt.
                   1901 at 16 n.4.
           28
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             1           Plaintiffs’ unjust enrichment case rests on nothing but “attorney arguments with
             2     string-cite record citations … without analysis.” Dkt. 1901 at 15. The record is devoid
             3     of support for their contention that Apple’s purported misappropriation of (1) a black
             4     foam test, (2) a short circuit, or (3) a rejected demodulation proposal was a substantial
             5     factor in causing any profits attributable to Apple Watch’s Blood Oxygen feature.
             6     Plaintiffs’ expert on unjust enrichment admitted he offered “no opinion that those three
             7     things caused the unjust enrichment number that [he] offered to the jury.” 4/13 AM
             8     Tr. [Kinrich] 120:21-121:5. He did “not address[] the issue of causation at all.” Id.
             9     121:21-25. Apple’s expert, who did offer an opinion on the issue, confirmed “there is
           10      no causal link” and no evidence to “show[] how much, if any, of the profits for the
           11      blood oxygen … feature[] was derived from the alleged use of the trade secrets.” 4/25
           12      Tr. [Webster] 26:5-12. Having no expert opinion on an issue on which they bear the
           13      burden of proof, and in the face of an unrebutted contrary expert opinion, Plaintiffs are
           14      left with only attorney argument and a hodgepodge of (irrelevant) exhibits—none of
           15      which would allow a reasonable jury to find in Plaintiffs’ favor.
           16            As Apple previously submitted, Plaintiffs bear the burden to show both (1) that
           17      Apple’s purported misappropriation was a substantial factor in causing Apple to
           18      receive profits attributable to the Blood Oxygen feature and (2) “the total amount of
           19      the benefit attributable to the misappropriation of particular alleged trade secrets.”
           20      Dkt. 1643 at 5; Dkt. 1676 at 16; Dkt. 1500-1 at 242. While the Court’s instructions did
           21      not adopt Apple’s position on calculating the amount of unjust enrichment—which
           22      Apple maintains—the Court did instruct the jury that Plaintiffs must show the alleged
           23      misappropriation was a “substantial factor” in causing the unjust enrichment they
           24      seek—i.e., the profits attributed to the Blood Oxygen feature.
           25            Under that standard, no reasonable juror could have concluded Plaintiffs met
           26      their burden. As discussed further below, the vast majority of the scattershot
           27      documents Plaintiffs cite have nothing to do with the Blood Oxygen feature in the first
           28      place. Further, they indisputably predate Apple’s development of that feature, which

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             1     began in “November, December of 2014.” See 4/18 PM Tr. [Land] 70:24-71:1; see
             2     also infra p. 5. The “mere possibility” that the purported trade secrets enriched
             3     Apple—which in this case is utterly theoretical, given the complete absence of causal
             4     evidence—fails as a matter of law to support unjust enrichment. See Saelzer v.
             5     Advanced Group 400, 25 Cal. 4th 763, 781 (2001). This Court should grant JMOL.
             6                                            ARGUMENT
             7              This Court instructed the jury that to award unjust enrichment, they needed to
             8     find that Plaintiffs had established that Apple’s misappropriation “was a substantial
             9     factor in causing Apple to be unjustly enriched.” Dkt. 1715 at 26; see also AMN
           10      Healthcare, Inc. v. Aya Healthcare Servs., Inc., 28 Cal.App.5th 923, 948 (2018)
           11      (disclosure of plaintiff’s secret list of travel nurses was not a substantial factor in
           12      causing harm because “there [wa]s no evidence [defendant] ever used or relied on such
           13      information”). Plaintiffs did not object to that instruction, see Dkt. 1679, and thus
           14      agreed that they bear the burden to link Apple’s supposed use of the purported
           15      technical trade secrets to the unjust enrichment they seek—i.e., the total profits they
           16      attribute to the Blood Oxygen feature in Apple Watch Series 6 and 7.2
           17               Plaintiffs’ damages expert Mr. Kinrich presented only a single measure of unjust
           18      enrichment regardless which or how many alleged technical secrets were
           19      misappropriated. 4/13 AM Tr. [Kinrich] 121:11-123:1. Plaintiffs must therefore show
           20      that the purported misappropriation of each alleged technical secret was a “substantial
           21      factor” in causing the profits they attribute to the Blood Oxygen feature. Plaintiffs’
           22      proof did not remotely establish this. Mr. Kinrich conceded that he was offering no
           23      opinion causally linking any alleged trade secret and the Blood Oxygen feature. See
           24      id. 120:9-121:25. The bottom line is that no reasonable juror could find a causal
           25      connection between the black foam test, the short circuit, or the rejected demodulation
           26      proposal, on the one hand, and any particular profits, on the other.
           27
                   2
           28        Apple also maintains no reasonable juror could find Mr. Kinrich properly determined
                   the value of the Blood Oxygen feature. See Dkt. 1765 at 14; Dkt. 1841 at 16-17.
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             1        I. PLAINTIFFS’ ASSERTION THAT THE PURPORTED SECRETS ARE “CRITICAL”
             2            TO THE BLOOD OXYGEN FEATURE RESTS ON A SINGLE, INAPPOSITE SLIDE.
             3            Plaintiffs’ Rule 50(b) opposition identified just a single supposed link between
             4     the alleged technical trade secrets as a whole and Blood Oxygen—i.e., that “
             5                                                                   ” and
             6                                                                                               ”
             7     50(b) Opp. 13-14. The only piece of evidence cited in support of the assertion that
             8                                                    was a single page from an internal Apple
             9     development slideshow created two years before the feature launched. See JTX-1078
           10      at -632. This slide generally references
           11
           12
           13                                                     Id.
           14             Nothing on that slide has anything to do with demodulation techniques (i.e., the
           15      subject matter of D1, D3, and D10) or the noise caused by
           16                     (i.e., the subject matter of L5). To the extent that Plaintiffs are arguing
           17      that the slide is related to L4, a
           18                                                                      is insufficient for any
           19      reasonable jury to find Apple’s alleged use of the black foam test was a factor (let
           20      alone more than a trivial factor) in causing the Blood Oxygen profits. See infra pp. 6-
           21      7; see also Bowman v. Wyatt, 186 Cal.App.4th 286, 313-314 (2010) (causation cannot
           22      be established merely by drawing “inferences … from [the] circumstances [that] are
           23      consistent with [plaintiffs’] theory” (emphasis added)).
           24         II. PLAINTIFFS’ SECRET-SPECIFIC CAUSATION ARGUMENTS ARE MERITLESS.
           25             A. D1, D3, and D10. There is no dispute that “
           26                                  ” 4/12 PM Tr. [Madisetti] 98:25-99:2, and that Plaintiffs
           27      have not alleged that D1, D3, and D10 were “incorporated in the body of a watch,”
           28      4/13 AM Tr. [Kinrich] 114:12-19; see also 4/25 Tr. [Webster] 23:11-21 (“Plaintiffs

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             1     have acknowledged that [D1, D3, and D10] are not used in any Apple Watch”). Nor
             2     do Plaintiffs dispute that they are requesting $1.85 billion for three purported secrets
             3     that Apple has never incorporated within Watch. Instead, they argue Apple “used
             4     these trade secrets” in the sense that they allegedly helped Apple “understand
             5     limitations of DCS and adopt an improved DCS2 algorithm, which benefited Apple’s
             6     blood-oxygen feature.” 50(b) Opp. 15. This is at most the kind of “trivial” linkage
             7     this Court’s instructions make clear does not constitute a substantial factor. In any
             8     event, no evidence corroborates this attorney argument—indeed, there is no mention of
             9     the term “DCS2” in the trial transcript.
           10               Apple “used a modulation technique [it] called dark channel subtraction from
           11      the very beginning” of Watch development—specifically, a two-sided dark channel
           12      subtraction technique. 4/19 AM Tr. [Waydo] 120:10-123:18. If Plaintiffs’ reference
           13      to “DCS2” is intended to refer to that two-sided DCS technique—i.e., the only DCS
           14      technique used in Apple Watch—no evidence exists from which a reasonable jury
           15      could conclude that technique “benefited” in any way from Dr. Lamego’s rejected
           16      demodulation proposal. Unrebutted testimony confirms that Apple’s DCS technique
           17      was “fully developed before [Dr. Lamego] even started at Apple” in January 2014 and
           18      a year before development of Blood Oxygen began. See 4/19 AM Tr. [Waydo]
           19      120:20-123:25; see also 4/18 PM Tr. [Land] 89:1-90:1 (confirming “the dark channel
           20      subtraction technique for pulse rate [and] other physiological parameters” was
           21      developed “in 2013” by Mr. Land and Dr. Waydo’s teams). Dr. Waydo testified that
           22      his “initial reaction” to Dr. Lamego’s proposal was confusion because it was “a very
           23      complex solution to a problem that we felt we had already solved very well with two-
           24      sided DCS.” 4/19 AM Tr. 124:25-125:4 (emphasis added).3
           25               Plaintiffs’ Rule 50(b) opposition brief cited (at 15) internal Apple documents—
           26
                   3
                     While Dr. Waydo’s team “revisited our own analysis and experiments around two-
           27      sided DCS to confirm that we had in fact addressed the ambient light issues as well as
                   we needed to,” he ultimately proceeded with the technique developed before Dr.
           28      Lamego’s arrival. 4/19 AM Tr. [Waydo] at 124:19-127:15; JTX-4199 at -193 (email).
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             1     and a snippet of testimony from an Apple engineer—to support their assertion that
             2     Apple used Dr. Lamego’s proposal to “adopt an improved DCS2 algorithm.” But none
             3     of the Apple documents or the transcript they cite supports that claim. None even
             4     references either (1) the specific techniques in D1, D3, and D10 or (2) Blood Oxygen.
             5     See JTX-411
             6                             ); JTX-153
             7
             8
             9                                                            ); JTX-4199 (
           10
           11
           12                                                                          JTX-183
           13                                              4/18 PM Tr. [Land] 99.4 Plaintiffs have made no
           14      attempt to explain how these documents relate to “improving” DCS2—let alone how
           15      those improvements benefited Blood Oxygen. Plaintiffs’ expert Dr. Madisetti did not
           16      even testify about JTX-411, JTX-4199, or JTX-183, and his testimony about JTX-153
           17      and JTX-273 was merely that “                                                            ”
           18      4/12 PM Tr. [Madisetti] 45:14-46:12. Such conclusory testimony is insufficient.
           19      Lakeside-Scott v. Multnomah Cnty., 556 F.3d 797, 802 (9th Cir. 2009).
           20               Moreover, Plaintiffs ignore that almost all the documents cited are from mid-
           21      2014 or earlier—six years before Blood Oxygen was released and months before
           22      Apple began development of Blood Oxygen in November/December 2014. See supra
           23      p. 1. Plaintiffs cannot reasonably claim D1, D3, and D10 were a “substantial factor” in
           24      the development of Blood Oxygen where—even under Plaintiffs’ own (inaccurate)
           25
           26
           27      4
                     Plaintiffs have also cited JTX-431, 50(b) Opp. 15, but that architecture proposal is
           28      from 2012—i.e., years before development began on Blood Oxygen. Plaintiffs elicited
                   no testimony linking this document to Blood Oxygen.
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             1      account—they were “used” by Apple long before any work on Blood Oxygen began.5
             2               B. L4. Plaintiffs have not established that Apple’s use of L4 conferred any
             3      benefit or profit related to the Blood Oxygen feature specifically. This is unsurprising,
             4      as it is undisputed that
             5                                                    ” 4/12 PM Tr. [Madisetti] 12-15; see also
             6      4/25 Tr. [Webster] 24:5-11 (similar). In other words, Mr. Kinrich calculated profits for
             7      Blood Oxygen by comparing devices that do and do not contain Blood Oxygen but
             8      ignored that all those devices (according to Plaintiffs) misappropriated L4.
             9               Plaintiffs’ response in their Rule 50(b) opposition relied heavily on a single slide
           10       in JTX-1078 in an attempt to connect L4 and Apple’s Blood Oxygen feature. 50(b)
           11       Opp. 14.6 The referenced slide (at -632)
           12
           13                                                                                             But
           14       L4 requires
           15                                             While the slide mentions                              , it
           16       does not state or imply that the            were made due to Apple’s use of L4. JTX-
           17       1078 at -632. To the contrary, unrebutted testimony confirmed that the black foam test
           18                               . 4/19 AM Tr. [Block] 19:19-20:1 (Q. “Did Apple use the results
           19       of the black foam test … to design the optical sensor in either the second or the third
           20       generation of the optical modules[?] A. No.”); 4/18 PM Tr. [Land] 78:15-79:1
           21       (similar); 4/20 AM Tr. [Warren] 66:10-19 (similar). And as detailed in Apple’s 50(b)
           22       Reply (at 4), the record offers nothing supporting Plaintiffs’ assertion that
           23                  ” supports their claim that Apple used a black foam test to
           24
                    5
           25         And no reasonable jury could award damages on D10 because Plaintiffs’ CEO
                    testified it was “not a trade secret” after the ’754 patent published in March 2019—a
           26       year before the Series 6 went on sale. See 4/6 AM Tr. [Kiani] 110-111; see also 4/11
                    PM Tr. 8:10-19 (that D10 is no longer a secret “is established by the record”).
           27       6
                      Plaintiffs also cite in passing to JTX-1064, 50(b) Opp. 14, but the referenced slide is
           28       from a May 2014 presentation (i.e., before Apple began developing Blood Oxygen),
                    and Plaintiffs did not elicit any testimony linking this document to Blood Oxygen.
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             1               to improve the Blood Oxygen feature.
             2            In any event, even accepting Plaintiffs’ position that the                 reflected
             3      on page -632 of JTX-1078 somehow shows “use” of L4, Plaintiffs have not shown that
             4      the                            contemplated in JTX-1078 was a substantial factor in
             5      causing Blood Oxygen profits. While they argued in their 50(b) opposition (at 15) that
             6      “Masimo’s trade secrets benefitted Apple by making its blood-oxygen feature
             7      functional enough to convince consumers to purchase its watch despite providing no
             8      real benefit to the consumer,” they have not cited a single piece of evidence in support
             9      of that bald assertion. Plaintiffs have not, for example, shown that the depicted design
           10       change improved performance, allowed Apple to charge a premium, or otherwise was
           11       “singled out … as a key element of” the Blood Oxygen feature. See Premier Displays
           12       & Exhibits v. Cogswell, 2009 WL 8623588, at *11 (C.D. Cal. Dec. 23, 2009) (Selna,
           13       J.) (trade secret design not a substantial factor in defendant winning bid where it was
           14       arguably “important” to bid but was not “singled out for praise or as a key element”).
           15             Plaintiffs’ Rule 50(b) briefing also relied on Dr. Madisetti’s generic testimony
           16       that the purported
           17                                                          4/12 PM Tr. [Madisetti] 14:1-24. But
           18       Plaintiffs do not dispute that his testimony is so conclusory as to be irrelevant to the
           19       JMOL determination, see 50(b) Reply at 3; see also Lakeside-Scott, 556 F.3d at 802,
           20       and they fail to identify any statement from Dr. Madisetti expressly linking the use of
           21       L4 to the development of the Blood Oxygen feature. Plaintiffs relatedly pointed to Mr.
           22       Diab’s testimony that “                                                           .” 50(b)
           23       Opp. 14. But Mr. Diab lacked any knowledge of Apple’s technology or L4—and thus
           24       could not testify to any benefits Apple allegedly received from using L4. See 4/7 Tr.
           25       [Diab] 19:9-13 (“I do not know the trade secrets themsel[ves] and what they mean.”).
           26             C. L5. Plaintiffs have similarly failed to show that the short circuit alleged to
           27       have misappropriated L5 was a substantial factor in creating any profits attributed to
           28       the Blood Oxygen feature. Again, it is undisputed that

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             1
             2                   . 4/25 Tr. [Webster] 23:22-24:4. It is thus impossible to measure any value
             3      added to Watch by L4 and L5 by comparing the SE Series to Series 6 and 7.
             4            Plaintiffs failed to introduce any evidence showing the circuit benefited the
             5      Blood Oxygen feature at all, much less that it was a substantial factor in the feature’s
             6      profitability. Plaintiffs pointed to a May 2014 Apple document that they claim refers
             7      to L5 as a               in a ranking of features for Watch. 50(b) Opp. 14 (citing JTX-
             8      185 at -836). Even assuming the comment refers to the accused short circuit, it
             9      logically has nothing to do with the Blood Oxygen feature, which again was not in
           10       development until November/December 2014. See supra pp. 1, 5. Plaintiffs’ only
           11       explanation for this fallacy is their assertion that Apple “began developing blood
           12       oxygen in 2012.” 50(b) Opp. 14. But Plaintiffs do not provide any record citation for
           13       this statement, which is factually inaccurate.
           14             Plaintiffs also cited Mr. Diab’s testimony, 50(b) Opp. 14, but that testimony
           15       related generically to the benefits of minimizing crosstalk—not to L5 specifically
           16       (which Mr. Diab had never seen) or to the benefits of L5 to Apple Watch, with which
           17       Mr. Diab has no experience. See supra p. 7. The only record evidence regarding any
           18       benefit (or lack thereof) of the short circuit accused of misappropriating L5 was Dr.
           19       Block’s testimony explaining it was incorporated as a “best practice” but did not result
           20       in “any changes to performance.” 4/19 AM Tr. [Block] 21:17-20, 24:15-17.
           21             At a minimum, any connection between L5 and the Blood Oxygen was trivial.
           22       As noted, Plaintiffs did not introduce any evidence, for instance, that the short circuit
           23       improved accuracy or was otherwise singled out as important. See Cogswell, 2009 WL
           24       8623588, at *11. And there was no such evidence. This failure is especially apparent
           25       here because the accused short circuit is just one of millions of components, see 4/12
           26       PM Tr. [Madisetti] 95:4-6, and while Dr. Madisetti claimed that this component has
           27                                  id. 95:11-13, he offered no evidence to justify that
           28       conclusory statement, see Lakeside-Scott, 556 F.3d 797 at 802.

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             1      Dated: August 21, 2023                Respectfully submitted,
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                                                              9           CASE NO. 8:20-cv-00048-JVS (JDEX)
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             1                             CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple Inc. certifies that this
             3      brief contains 2919 words, which [choose one]:
             4                  complies with the word limit of L.R. 11-6.1
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             6                  1901).
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